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                        EXHIBIT A
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                                                         STANDARDIZED FUND ACCOUNTING REPORT

                                                         SECURITIES AND EXCHANGE COMMISSION
                                                                                 vs.
                                                        NATURAL DIAMONDS INVESTMENT CO., et al.
                                                              CASE NO.: 19-CV-80633-ROSENBERG
                                                      Reporting Period July 1, 2021 through September 30, 2021

 FUND ACCOUNTING


                                                                                                                                  Detail             Subtotal
                   Beginning Balance
 Line 1                                                                                                                                              $1,593,059.45

 Line 2            Business Income                                                                                                                          $0.00

 Line 3            Cash and Securities                                                                                                                      $0.00
                   Interest/Dividend
 Line 4            Income                                                                                                                                   $0.00

 Line 5            Business Asset Liquidation                                                                                                               $0.00

 Line 6            Personal Asset Liquidation                                                                                                               $0.00
                   Third-Party Litigation
 Line 7            Income                                                                                  Settlement (Froehlich & De La Rua, CPA)    $750,000.00

 Line 8            Miscellaneous - Other                                                                                                                    $0.00

                   TOTAL FUNDS (Lines 1-8)                                                                                                           $2,343,059.45

                                         Decreases in Fund Balance:


 Line 9            Disbursements to Investors                                                                                                               $0.00

 Line 10           Disbursements for Receivership Operations                                                                                                $0.00

 Line 10a          Disbursements to Receiver or Other Professionals                                                                                    $49,390.92

 Line 10b          Business Asset Expenses (Bank Service Charge)                                                                                           $80.00

 Line 10c          Personal Asset Expenses                                                                                                                   $0.00

 Line 10d          Investment Expenses                                                                                                                      $0.00

 Line 10e          Third-Party Litigation Expenses                                                                                                          $0.00

                   Attorneys Fees                                                                                                                           $0.00

                   Litigation Expenses                                                                                                                      $0.00

                   Total Third-Party Litigation Expenses                                                                                                    $0.00

                   Total Disbursements for Receivership Operations:                                                                                    $49,470.92

                      Disbursements for Distribution Expenses Paid by the Fund:
 Line 11

                                  Distribution Plan Development Expenses:
 Line 11a

                   Fees                                                                                                                                     $0.00

                   Fund Administrator                                                                                                                       $0.00
                   Independent Distribution
                   Consultant (IDC)                                                                                                                         $0.00

                   Distribution Agent                                                                                                                       $0.00

                   Consultants                                                                                                                              $0.00

                   Legal Advisers                                                                                                                           $0.00

                   Tax Advisers                                                                                                                             $0.00

                   Administrative Expenses                                                                                                                  $0.00

                   Miscellaneous - Other                                                                                                                    $0.00

                   Total Plan Development Expenses                                                                                                          $0.00

                                  Distribution Plan Implmentation Expenses:
 Line 11b

                   Fees

                   Fund Administrator                                                                                                                       $0.00
                   Independent Distribution
                   Consultant (IDC)                                                                                                                         $0.00

                   Distribution Agent                                                                                                                       $0.00

                   Consultants                                                                                                                              $0.00

                   Legal Advisers                                                                                                                           $0.00

                   Tax Advisers                                                                                                                             $0.00




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                      Administrative Expenses                                                    $0.00

                      Investor Identification                                                    $0.00

                      Notice/Publishing Approved Plan                                            $0.00

                      Claimant Identification                                                    $0.00

                      Claims Processing                                                          $0.00

                      Website Maintenance/Call Center                                            $0.00

                      Fund Administrator Bond                                                    $0.00

                      Miscellaneous - Other                                                      $0.00

                      Federal Account for Investor Restitution (FAIR) Reporting Expenses         $0.00

                      Total Plan Implementation Expenses Not Paid by the Fund                    $0.00

                      Total Disbursements for Distribution Expenses Paid by the Fund             $0.00

                                           Disbursements to Court/Other:
 Line 12

 Line 12a             Investment Expenses/Court Registry Investment System (CRIS) Fees           $0.00

 Line 12b             Federal Tax Payments                                                       $0.00

                      Total Disbursements to Court/Other:                                        $0.00

                      Total Funds Disbursed (Lines 9-11):                                   $49,470.92

 Line 13              Ending Balance (As of 9/30/2021):                                    2,293,588.53

 Line 14              Ending Balance of Fund - Net Assets:

 Line 14a             Cash & Cash Equivalents                                                    $0.00

 Line 14b             Other Assets or Uncleared Funds                                            $0.00

                      Total Ending Balance of Fund - Net Assets                                  $0.00



 OTHER SUPPLEMENTAL
                                 Report of Items NOT to be Paid by the Fund:
 INFORMATION:
                      Disbursements for Plan Adminisration Expenses Not Paid by the
 Line 15              Fund:                                                                      $0.00

 Line 15a             Fees                                                                       $0.00

                      Fund Administrator                                                         $0.00

                      IDC                                                                        $0.00

                      Distribution Agent                                                         $0.00

                      Consultants                                                                $0.00

                      Legal Advisers                                                             $0.00

                      Tax Advisers                                                               $0.00

                      Administrative Expenses                                                    $0.00

                      Miscellaneous                                                              $0.00

                      Total Plan Development Expenses Not Paid by the Fund                       $0.00

                             Plan Implementation Expenses Not Paid by the Fund:
 Line 15b                                                                                        $0.00

                      Fees

                      Fund Administrator                                                         $0.00

                      IDC                                                                        $0.00




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                                      Distribution Agent                                                        $0.00

                                      Consultants                                                               $0.00

                                      Legal Advisers                                                            $0.00

                                      Tax Advisers                                                              $0.00

                                      Administrative Expenses                                                   $0.00

                                      Investor Identification:                                                  $0.00

                                      Notice/Publishing Approved Plan                                           $0.00

                                      Claimant Identification                                                   $0.00

                                      Claims Processing                                                         $0.00

                                      Website Maintenance/Call Center                                           $0.00

                                      Fund Administrator Bond                                                   $0.00

                                      Miscellaneous                                                             $0.00

                                      FAIR Reporting Expenses                                                   $0.00

                                      Total Plan Implementation Expenses Not Paid by the Fund                   $0.00

                                            Tax Administrator Fees & Bonds Not Paid by the Fund:
 Line 15c
                                      Total Disbursements for Plan Administration Expenses Not Paid
                                      by the Fund                                                               $0.00

                                             Disbursements to Court/Other Not Paid by the Fund:
 Line 16                                                                                                        $0.00

 Line 16a                             Investment Expenses/CRIS Fees                                             $0.00

 Line 16a                             Federal Tax Payments                                                      $0.00

                                      Total Disbursements to Court/Other Not Paid by the Fund:                  $0.00

 Line 17                              DC & State Tax Payments                                                   $0.00

 Line 18                              No. of Claims:                                                      212

 Line 18a                             # of Claims Received This Reporting Period                          212

 Line 18b                             # of Claims Received Since the Inception of Fund                    212

 Line 19                              No. of Claimants/investors:                                         212

 Line 19a                             # of Claimants/Investors Paid This Reporting Period                  0

 Line 19b                             # of Claimants/Investors Paid Since Inception of Fund                0




 Receiver:




 By:______________________________________
    Jeffrey C. Schneider, Court Appointed Receiver

    Jeffrey C. Schneider______________________
    (printed name)

    Date: November 1, 2021




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